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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

United States of America ex rel.              )
LEONARD LOGAN,                                )
                                              )       Case No. 12 CV 6170
       Petitioner,                            )
                                              )
               vs.                            )
                                              )
NEDRA CHANDLER, Warden,                       )
                                              )       Judge Kennelly
       Respondent.                            )


                            PETITIONER’S MOTION TO STAY
                     RULING PENDING PETITIONER’S INVESTIGATION
                        OF POTENTIAL NEW ISSUES IN THE CASE


       NOW COMES Petitioner Leonard Logan, by and through his counsel, and presents this

motion to stay any ruling on Petitioner’s Petition for Writ of Habeas Corpus until November 12,

2014, give his counsel time to investigate and address potential new issues in Petitioner’s case.

In support of this Motion, Petitioner states as follows:

       1.      This Court now has before it Leonard Logan’s Petition for Writ of Habeas

Corpus. This Court granted Mr. Logan an evidentiary hearing to give him the opportunity to

demonstrate that his trial counsel was ineffective. (Dckt. No. 41.) During that evidentiary

hearing, held February 18-20, 2014, this Court heard evidence related to Mr. Logan’s counsel’s

failure to investigate Mr. Logan’s alibi defense.

       2.      As was presented to this Court at the evidentiary hearing, Mr. Logan was arrested

in this case by a Chicago Police Officer Glenn Evans. There was evidence presented at the

hearing that Mr. Logan had a prior encounter with Glenn Evans, who shot him. Mr. Logan had a
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civil lawsuit pending against Officer Evans at the time of his arrest. Mr. Logan testified that he

went to Milwaukee at the advice of his then-attorney, who told Mr. Logan he should avoid

Officer Evans.

       3.        Officer Evans’ involvement in Mr. Logan’s case did not end with his arrest.

There are other reports in this case indicating that Officer Evans interviewed witnesses, helped

other detectives locate witnesses, and gave investigating officers information about Mr. Logan.

       4.         Over the last two weeks, Mr. Logan’s current counsel has learned that now-

Commander Evans was just indicted and charged with aggravated battery and official

misconduct stemming from a 2013 incident in which Commander Evans allegedly put the barrel

of his service weapon into an arrestee’s mouth, and also allegedly put a Taser weapon into the

arrestee’s crotch and threatened to kill him. (Exhibit 1, Chicago Tribune, “Indictment charges

police commander with shoving gun barrel down suspect’s throat,” September 18, 2014.)

       5.        Moreover, the press coverage resulting from that indictment has revealed that

Commander Evans has a long history of misconduct complaints, including 50 complaints since

2001, and is part of various “repeater” lists produced by the Chicago Police Department in

response to Freedom of Information Act requests related to officers with multiple complaints.

News coverage of those lists reports that Commander Evans had nine complaints of excessive

force between May 2002 and December 2008. (Exhibit 2, Chicago Tribune, “Indicted cop leader

drew 36 complaints in 8 years,” Sept. 24, 2014.) Most relevant to Mr. Logan’s case:

       [A]dditional records obtained through FOIA requests show that earlier in his career
       Evans had been suspended from his duties at least 10 times, mostly while a young officer
       on the South Side. Half of those suspensions stemmed from excessive-force complaints,
       two of which resulted in separate 15-day suspensions, according to the records.

(Id.) The expansiveness and breadth of these complaints were only made available through the

Freedom of Information Act (“FOIA”) several months after the Illinois Appellate Court decided

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Kalven v. City of Chicago, 2014 IL App (1st) 121846, and the City of Chicago decided not to

appeal that decision and began producing complaint register files in response to FOIA requests.

(Id.)

        6.     Although not a witness at the recent evidentiary hearing before this Court, then-

Officer Evans’ conduct and his connection with Mr. Logan’s conviction were connected to the

evidence the Court heard. Mr. Logan testified that he told his trial attorneys that Officer Evans

was a defendant in a civil lawsuit he was pursuing at the time he was arrested in this case, and

that he believed Evans framed him in this case because Evans had shot Logan in the past and

then accused Logan of disarming him. (Dckt. No. 60 at 415, 433-34; Dckt. No. 64 at 188-93.)

The evidence presented at the hearing, which is undisputed, is that Evans’s name was in the

discovery and that Logan discussed Evans with someone, and at the least that proof of those

conversations made it into the file that his trial lawyers saw. (Dckt. No. 60 at 465; Dckt. No. 64

at 188-91.) As Logan explained, his alibi in this case, that he was in Milwaukee, was connected

with Officer Evans - his prior counsel told him to avoid Evans, leading Logan to go to

Milwaukee. (Dckt. No. 60 at 432.) Finally, Logan’s attorneys testified that one reason they did

not use an alibi defense was because they were concerned that evidence about what Mr. Logan

had on him when he was arrested (by Evans) might come in on rebuttal. (Dckt. No. 64 at 90-91;

Dckt. No. 60 at 239-40; See also Exhibit 3, June 20, 1997 Supplementary Report.)

        7.     As Mr. Logan’s counsel advised this Court in the post-hearing pleadings, this

Court does not have before it a claim as to whether Mr. Logan’s trial counsel was somehow

ineffective for failing to present evidence or testimony that Logan was being framed by Evans, or

evidence or testimony that Commander Evans had committed any kind of misconduct in Mr.

Logan’s case. In light of Commander Evans’ arrest and the significant history of misconduct



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revealed in connection with that arrest, however, Mr. Logan’s counsel wishes to consider

whether there is any evidence or argument raised by these developments that Mr. Logan should

bring before this Court. Further, Mr. Logan should have an opportunity to consider whether

there is anything raised by these developments that would warrant a stay of the proceedings

before this Court for Mr. Logan to raise issues in state court.

       8.      In particular, Mr. Logan and his counsel are seeking a brief extension of time to

obtain more complete information through FOIA of complaints made against Commander Evans

and to analyze and consider what, if any, action Mr. Logan should take in light of this

information and the evidence presented to this Court. Counsel needs this time in order to meet

and confer with Mr. Logan, who is incarcerated. Counsel is seeking several weeks to seek these

documents and confer with her client because counsel’s wedding is on November 1, 2014, and

counsel will be gone for a portion of the week thereafter on her honeymoon. This extension of

time would prejudice neither party and would ensure that full information can be presented to

this Court. It is therefore in the interests of justice for this Court to grant Mr. Logan a brief

extension of time to assess these developments.

       9.      Prior to the filing of this motion, counsel for Mr. Logan conferred with counsel

for Respondent in an effort to reach an agreement on this Motion. The Respondent indicated that

it could not agree with this Motion.




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        WHEREFORE, for the above reasons, Mr. Logan respectfully requests that this Court

grant Mr. Logan until November 12, 2014, to assess whether his counsel should make any

further filings related Mr. Logan’s pending petition.

                                             Respectfully Submitted,



                                             /s/ Tara Thompson

                                             Jon Loevy
                                             Tara Thompson
                                             David B. Owens
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DATE:          October 9, 2014




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                                CERTIFICATE OF SERVICE

        I, Tara Thompson, an attorney, certify that on October 9, 2014, I sent by electronic means
a copy of the attached Motion to Stay Ruling Pending Petitioner’s Investigation of Potential New
Issues In the Case, to counsel of record through this Court’s CM/ECF System.

                                                    /s/Tara Thompson




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